                              Case 3:20-cv-01555-JCH Document 51 Filed 05/21/21 Page 1 of 1
                                                                                                                   Civil- (Dec-2008)
                                                                HONORABLE: Janet C. Hall
                                     DEPUTY      CLERKDiahann Lewis      RPTR/ECRO/TAPETerri Fidanza
         TOTAL TIME:         1        hours 41 minutes
                                        DATE: 5/21/2021        START TIME: 10:00                  END TIME: 11:41
                                                            LUNCH RECESS       FROM:                     TO:
                                                    RECESS (if more than ½ hr) FROM:                     TO:

         CIVIL NO. 3:20cv1555


                     Connecticut                                                      Levine, Cheney, Salton, Harding
                                                                                               Plaintiff’s Counsel
                                        vs                                            Wells,
                     Exxon Mobil Corporation                                          Toal, Anderson, Smith, Langer, Dooley,
                                                                                               Defendant’s Counsel

                                                   COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing                          Show Cause Hearing
                                 Evidentiary Hearing                  Judgment Debtor Exam
                                 Miscellaneous Hearing

         ✔ .....#36         Motionto Remand - Decision Reserved                          granted      denied ✔ advisement
            .....#          Motion                                                       granted      denied         advisement
            .....#          Motion                                                       granted      denied         advisement
            .....#          Motion                                                       granted      denied         advisement
            .....#          Motion                                                       granted      denied         advisement
            .....#          Motion                                                       granted      denied       advisement
            .....#          Motion                                                       granted      denied       advisement
            .....           Oral Motion                                                  granted      denied       advisement
            .....           Oral Motion                                                  granted       denied        advisement
            .....           Oral Motion                                                  granted      denied         advisement
           .....            Oral Motion                                                  granted      denied         advisement
            .....                Briefs(s) due                Proposed Findings due                Response due
           .............                                                                                   filed     docketed
           .............                                                                                   filed     docketed
           .............                                                                                   filed     docketed
           .............                                                                                   filed     docketed
            .............                                                                                  filed     docketed
            .............                                                                                  filed     docketed
            ............                            Hearing continued until                           at

Notes:
